IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE

NASHVILLE DIVISION
UNITED STATES OF AMERICA )
)
v. ) No. 3 :l l-cr-OOOZO-Z
) Senior Judge Haynes
AUSTIN MICHAEL EVANS )
O R D E R

Before the Court is Defendant’s letter requesting transcripts (Docket Entry No. 151). The
clerk shall notify the court reporter, Who shall provide Defendant with an estimate of the costs of
transcripts

lt is so ORDERED.

ENTERED this the g ay of January, 2016.

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WILLIAM @ ,'~JR.

Senior United States istrict Judge

 

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